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               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,
              Plaintiff,


v.                                              Case No. 17-6134-01-GEB

BOGDANA ALEXANDROVNA MOBLEY,

                      Defendant.

                        ORDER TO WITHDRAW
________________________________________________________________________

      ON THIS 10TH day of October, 2017, this action comes on for hearing

before this Court upon the motion of defense counsel, Jennifer A. Amyx,

Assistant Federal Public Defender for the District of Kansas, to withdraw as

attorney for the defendant, Bogdana Alexandrovna Mobley. There are no other

appearances.

      The court finds that Jennifer A. Amyx, Assistant Federal Public

Defender for the District of Kansas, was appointed counsel of record for

defendant. On October 9, 2017, Kurt Kerns entered his appearance as

attorney of record for the defendant.
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      Accordingly, the Court hereby Orders that Jennifer A. Amyx, Assistant

Federal Public Defender for the District of Kansas, be permitted to withdraw

as counsel of record for the defendant in the above-captioned case.

      IT IS SO ORDERED

                                    S/KENNETH G. GALE
                                    HONORABLE KENNETH G. GALE
                                    U.S. MAGISTRATE COURT JUDGE


APPROVED:


s/Jennifer Amyx
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